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1     SHARI RUSK, Bar #170313
      ATTORNEY AT LAW
2     1710 BROADWAY, SUITE 111
      Sacramento, California 95818
3     Telephone: (916) 804-8656
4     Attorney for Defendant
      Zachary Jenson
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7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12    UNITED STATES OF AMERICA,    ) NO. 2:06-cr-0035 MCE
                                   )
13                  Plaintiff,     )
                                   ) SUBSTITUTION OF ATTORNEY; ORDER
14         v.                      )
                                   )
15    ZACHARY JENSON,              )
                                   )
16                  Defendant.     )
                                   )
17    ____________________________ )
18       It    is   respectfully    requested    that   Christoper     Hayden-Myer be
19 relieved as attorney of record and that Shari Rusk, Attorney at Law,
20 1710 Broadway, # 111, Sacramento, Calfornia, 95818, telephone number
21 (916) 804-8656, be substituted in as retained counsel in the above-
22 entitled case.
23
24                                      Respectfully submitted,
25                                      Shari Rusk
     Dated: April 3, 2006               /s/ Shari Rusk
26                                      Attorney for Defendant
                                        Zachary Jenson
27
28
          Case 2:06-cr-00035-MCE Document 73 Filed 04/10/06 Page 2 of 2


1                                               Christopher Hayden-Myer
     I accept the substitution.                 /S/CHRISTOPHER HAYDEN-MYER
2                                               ATTORNEY AT LAW
3
     Dated: April 3, 2006
4
5    I consent to the substitution.             Zachary Jenson
                                               /s/Zachary Jenson
6                                               Defendant
7    Dated: April 3, 2006
8
9                              ORDER
10   IT IS SO ORDERED.
11   Dated: April 7, 2006
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                                         _____________________________
14
                                         MORRISON C. ENGLAND, JR
15                                       UNITED STATES DISTRICT JUDGE

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